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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

NESTOR MEZA,

       Plaintiff,

v.                                                               Case No. 8:04-cv-2049-T-30TGW
                                                                          8:03-cr-124-T-30TGW

UNITED STATES OF AMERICA,

      Defendant.
___________________________________

                                              ORDER

       THIS CAUSE comes before the Court upon Petitioner’s Motion for Leave to Appeal in

forma pauperis (Dkt.14) and Motion for Production of the Complete Record Upon Collateral Attack

Filed In Forma Pauperis (Dkt. 15). In its August 30, 2005 order, this Court denied Petitioner’s

construed request for issuance of a certificate of appealability because he failed to meet the two-

prong Slack test. See Slack v. McDaniel, 529 U.S. 473, 484 (2000); Eagle v. Linahan, 279 F.3d 926,

935 (11th Cir 2001); Franklin v. Hightower, 215 F.3d 1196, 1199 (11th Cir. 2000) (per curiam).

       As to Petitioner’s request for a copy of the record, an indigent prisoner is not automatically

entitled to a copy of documents from the court files at government expense. Pursuant to 28 U.S.C.

§ 753(f), which governs the furnishing of transcripts requested by parties and the collection of fees

associated therewith:

               Fees for transcripts furnished in proceedings brought under section
               2255 of this title to persons allowed to sue, defend, or appeal in forma
               pauperis shall be paid by the United States out of moneys
               appropriated for those purposes if the trial judge or a circuit judge
               certifies that the suit or appeal is not frivolous and that the transcript
               is needed to decide the issue presented by the suit or appeal.
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28 U.S.C. § 753(f). In MacCollom, the Supreme Court upheld the constitutionality of Section 753.

United States v. MacCollom, 426 U.S. 317, 325-26 (1976). The Court concluded that the right of

a petitioner to equal access to procedures for review of his/her conviction was satisfied where the

petitioner was afforded a free transcript upon a showing of a particularized need. Id. at 326. Having

failed to demonstrate a particularized need at this stage of these proceedings, Petitioner is not

entitled to copies of documents from the record at government expense.

        Accordingly, the Court ORDERS that Petitioner’s Motion for Leave to Appeal in forma

pauperis (Dkt. 14) and Petitioner’s Motion for Production of the Complete Record Upon Collateral

Attacked Filed In Forma Pauperis (Dkt. 15) are DENIED.

        DONE and ORDERED in Tampa, Florida on October 27, 2005.




Copies furnished to:
Counsel/Parties of Record

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